SUHRCO Residential Properties, LLC.

TO: Northgate West Condominium Owners
FROM; Northgate West Board of Directors and
Amy Gannon, Community Association Manager
DATE: November 23, 2022
RE: 2023 Budget Ratification Meeting

The Board of Directors for the Northgate West Condominium Homeowner’s Association has worked
diligently to prepare the Operating Budget for 2022. They have taken into consideration any projects that
will be necessary to complete in 2022, as well as increases in services such as utilities and insurance, and
funding the Reserve Account. The Board approved 2022 Budget is enclosed for your review.

A Meeting of all Homeowners will be held on:

Date: December 8, 2022
Time: 7:30 PM
Location: Zoom Meeting

The purpose of this meeting of the Homeowners is to consider ratification of the 2022 Budget. Please note
that unless the Owners, to which a majority of the votes in the Association are allocated, are represented
at the Meeting and vote to reject the Budget, the Budget will be ratified, whether or not a quorum is
present.

We encourage everyone to attend this important Meeting and look forward to seeing you there!
Questions; please email me at amyg@suhrco.com.

Topic: Northgate West - 2023 Budget Ratification Meeting

Join Zoom Meeting
https://usO6web.zoom.us/j/81323976713? pwd=NDN3Wmkzb3FnVTVzQzBSY2pPUStWZz09

Meeting ID: 813 2397 6713
Passcode: 079564
One tap mobile (253) 215-8782

A Comprehensive Real Estate Company
2010 156" Avenue NE, Suite 100
Bellevue, Washington 98007
Telephone: (425) 455-0900
Fax: (425) 462-1943

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AGENDA

2023 BUDGET RATIFICATION MEETING
Northgate West Condominiums Owners Association
November 23, 2022

> Roll Call- 7:30pm

> Proof of Notice of Meeting

> Presentation of the 2023 Budget

> Ratification of the 2023 Budget

> Adjournment

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Plumbing -Oomea\le Water & Drain = $5,512.00
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| ANNUAL HOA BUDGET

SUHRCO Residential Properties LLC

A iati Northgate West Effective Date: 01/01/2023-12/31/2023 Prepared by: Board of Direciors
Budget Year: 2023 Approved/Ratified: 11/18/2021
Unit Allocation
Monthly Assessment Summary
nit Owner Percentage as 2022
Number of Interest Total Total Dollar Change Percentage Change
101 1.285% 547.00 600.40 53.40 9.76%
102 4.285% 547.00 600.40 53.40 9.76%
103 1.285% 547.00 600.40 53.40 9.76%
104 1.285% 547.00 600.40 §3.40 9.76%
105 1.285% 547.00 600.40 53.40 9.76%
106 1.285% 547.00 600.40 53.40 9.76%
107 1.285% 547,00 600.40 §3.40 9.76%
109 1.285% 547.00 600.40 53.40 9.76%
111 1.285% 547.00 600.40 53.40 9.76%
112 1.285% 547.00 600.40 §3.40 9.76%
113 1.285% 547.00 600.40 §3.40 9,76%
114 1.285% 547.00 600.40 53.40 9.76%
115 1.285% 547.00 600.40 53.40 9.76%
116 1.285% 547.00 600.40 53.40 9.76%
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118 1.285% 547.00 600.40 53.40 9.76%
119 1.285% 547.00 600.40 53.40 9.76%
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121 1.285% 647.00 600.40 53.40 9.76%
122 1.285% 547.00 600.40 53.40 9.76%
123 1.285% 547.00 600.40 53.40 9.76%
124 1.285% 547.00 600.40 53.40 9.76%
425 1.285% 547.00 600.40 53.40 9.76%
127 1.285% 547.00 600.40 53.40 9.76%
201 1.402% 596.61 655.07 58.26 9.76%
202 1.402% 596.81 655.07 58.26 9.76%
203 1.401% 596.38 654.60 58.22 9.76%
204 4.402% 596.B1 655.07 58,26 9.76%
205 1.402% 596.81 655.07 58.26 9.76%
206 1.401% 596.38 654.60 58.22 9.76%
207 1.402% 596.81 655.07 58.26 9.76%
209 1.402% 596.81 655.07 §8.26 9.76%
211 1.401% 596.38 654.60 58.22 9.76%
212 1.402% 596.81 655.07 58.26 9.76%
213 1.402% 596.81 655.07 58.26 9.76%
214 1.401% 596.38 654.60 58,22 9.76%
215 1.402% 596.81 655.07 58.26 9.76%
216 1.402% 596.81 655.07 58.26 9.76%
217 1.401% 596.38 654.60 58.22 9.76%
218 1.402% 596.81 655.07 58.26 9.76%
219 1.402% 596.81 655.07 58.26 9.76%
220 1.401% §96.38 654,60 §B.22 9.76%
221 1.402% 596.81 655,07 58.26 9.76%
222 1.402% 596.81 655.07 58.26 9.76%
223 1.401% §96.38 654.60 §8.22 9.76%
224 1.402% 596.81 655.07 58,26 9.76%
225 1.402% 596.81 655,07 58.26 9.76%
227 1.401% 596.38 654,60 $8.22 9.76%
301 1.480% 630.01 691.51 61.50 9.76%
302 1.480% 630.01 691.51 61.50 9.76%
303 1.480% 690.01 691.51 61,50 9.76%
304 1.480% 630.01 691.51 61.50 9.76%
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316 1.480% 630.01 691.541 61.50 9.76%
317 1.480% 630.01 691.51 61.50 9.76%

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| ANNUAL HOA BUDGET |
SUHRCO Residentlal Propertios LLC

A lati Northgate West Effective Date: 01/01/2023-12/31/2023 Prepared by: Board of Directors
Budget Year: 2023 Approved/Ratifled: 11/18/2021
Unit Allocation
Monthly Assessment Summary
Monthly Totals Change
ae pene ee on aaa Dollar Change Percentage Change
318 1.480% 630.01 691.54 61.50 9.76%
319 1,480% 630.01 691.51 61.50 9.76%
320 1.480% 630.01 691.51 61.50 9.76%
321 1.480% 630.01 691.51 61.50 9.76%
322 1.480% 630.01 691.51 61.50 9.76%
323 1.480% 630.01 691.51 61.50 9,76%
324 1.480% 630.01 691.51 61.50 9.76%
325 1.480% 630.01 691.51 61.50 9.76%
327 1.480% 630.01 691.51 61.50 9.76%
100%

SE S6E SS [75 75S

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Reserve Disclosure by Unit

Reserve Funding breakdown by unit is intended to show funds contributed, projeced to be contributed, and ideal "full funding" contribution,
These funds do not belong to individual units; the funds belong to the Association for future projects.

Ownership Reserve Breakdown Comparative
Regerve Funding Starting Ending Fully Funded Reserve
UNIT #] CEL % by Unit Reserve Balance | Reserve Balance Reserve Balance | Deficiency / Surplus
yun by Unit by Unit by Unit (comp. to RS)
104 7.285% 7,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
102 1.285% 1,799,00 12,905.91 14,704.91 17,708.59 4,802.87
103 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
104 1.285%) 1,799,00 12,905.91 14,704.91 17,708.59 -4,802.67
105 1.285%) 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
106 1.285% 1,799.00 12,905.91 14,704,91 17,708.59 -4,802.67
107 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
109 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
111 1.285% 1,799.00 12,905.91 14,704.94 17,708.59 4,802.67
112 1.265% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
113 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
114 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
115 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
416 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
117 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
118 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
119 1.285% 1,799,00 12,905.91 14,704.91 17,708.59 4,602.67
120 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
121 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
122 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
123 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,602.67
124 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,802.67
125 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 -4,602.67
127 1.285% 1,799.00 12,905.91 14,704.91 17,708.59 4,802.67
201 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 -§,299.96
202 1.402% 1,962.80 14,081.00 16,043.60 19,320.96 -5,239.96
203 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 -§,236.22
204 1.402% 1,962,80 14,081.00 16,043.80 19,320.96 -5,299.96
205 1.402% 1,962.80 14,081.00 16,043.80, 19,320.96 ~§,239.96
206 1.401% 1,961.40 14,070.96 16,032.36) 19,307.18 -§,296.22
207 1.402% 1,962.80 14,081.00 16,043,80) 19,320.96 -6,239.96
209 1.402% 1,962.80 14,081,00 16,043.80) 19,320.96 -5,239.96
214 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 -5,296.22
212 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 6,239.96
213 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 -6,239.96
214 1.401% 1,961.40 14,070.96 16,032.36] 19,307.18 -§,236.22
215 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 -5,239.96
216 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 5,299.96
217 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 5,236.22
218 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 “5,239.96
219 1.402% 1,962.80 14,081.00 16,043.80) 19,320.96 -,239,96
220 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 5,236.22
221 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 -5,239.98
222 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 -§,298.96
223 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 5,296.22
224 1.402% 1,962.80 14,081.00 16,043.80 19,320.96 5,239.96
225 1.402% 1,962.80 14,081.00 16,043.60 19,320.96 5,239.96
227 1.401% 1,961.40 14,070.96 16,032.36 19,307.18 “6,256.22
301 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531.49
302 1.480% 2,072.00 14,664.39 16,936.39 20,395.88 “5,531.49
303 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 5,531.49
304 1.480% 2,072.00 14,864.39 16,936.39) 20,395.88 -5,531.49
305 1.480% 2,072.00 14,864.39 16,936.39) 20,395.88 -5,531.49
306 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531.49
307 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 +5,531.49
309 1.480% 2,072.00 14,864.39 16,936.39) 20,395.88 ~§,531.49
311 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 6,531.49
312 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -6,5391.49
313 1.480% 2,072.00 14,664.39 16,996.39 20,395.68 -§,931.49
314 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -§,531.49
315 1.480% 2,072.00 14,864,39 16,936.39 20,395.88 5,531.49
316 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -§,5391.49

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Reserve Fundin Starting Ending Fully Funded Reserve
UNIT#] CEL% by Unit 5] Reserve Balance | Reserve Balance Reserve Balance | Deficiency / Surplus
¥ by Unit by Unit by Unit (comp. to RS)
37 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531.49
318 1.480% 2,072.00 14,864.39 16,936.39) 20,395.88 -5,531.49
3419 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -§,531.49
320 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -5,631.49
321 1.480%! 2,072,00 14,864.39 16,936.39 20,395.88 -5,531.49)
322 1.460% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531,49)
323 1.480% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531.49)
324 1.480% 2,072.00 14,864.39 16,936.38 20,395.88 -5,531.49)
325 1.460% 2,072.00 14,864.39 16,936.39 20,395.88 -5,531.49)
327 1.480% 2,072,00 14,864.39 16,936.39 20,395.88 -5,531.49)
100% 140,000.00} 1,004,351 00} 1,144,351,00 1 378,100.00} -373,749.00
| Net to Reserves: 140,000.00}
| 2023 Starting Resarve Balance: 1,004,351 00} 11,666.67

| 2023 Ending Reserve Balance

1,144,351.00]

| 2023 Fully Funded Reserve Balance (based on RS)

1,378,100.00] Based on 2022 Reserve Study

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